                 Case 2:18-cv-00623-ILRL-MBN Document 13 Filed 04/17/18 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                    __________  DistrictofofLouisiana
                                                                             __________

                    D&B Boat Rentals Inc.                                )
                                                                         )
                                                                         )
                                                                         )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                           Civil Action No.   2:18-cv-00623-B(5)
                                                                         )
 National Pollution Funds Center, American Pollution                     )
  Control Corp., and the United States of America                        )
                                                                         )
                                                                         )
                           Defendant(s)                                  )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) United States of America through
                                           Attorney General of the United States
                                           U.S. Department of Justice
                                           950 Pennsylvania Avenue, NW
                                           Washington, DC 20530-0001



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Harry Morse, L.L.C.
                                           650 Poydras St., Ste. 2710,
                                           New Orleans, LA 70118




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk

                 Apr 17 2018
                   Case 2:18-cv-00623-ILRL-MBN Document 13 Filed 04/17/18 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

  Civil Action No.          Click here to enter text.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

            This summons for (name of individual and title, if any)
  was received by me on (date)                                         .

                 I personally served the summons on the individual at (place)
                                                                                 on (date)                             ; or

                 I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
            on (date)                               , and mailed a copy to the individual’s last known address; or

                 I served the summons on (name of individual)                                                                 , who is
             designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                             ; or

                 I returned the summons unexecuted because                                                                       ; or

                 Other (specify):
                                                                                                                                         .


            My fees are $                           for travel and $                  for services, for a total of $                     .


            I declare under penalty of perjury that this information is true.


  Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

  Additional information regarding attempted service, etc:
